 8:15-cr-00025-LES-FG3         Doc # 79    Filed: 03/03/17    Page 1 of 1 - Page ID # 240




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA

                     Plaintiffs,                                   8:15CR25

      vs.
                                                         ORDER TO WITHDRAW
HERMAN FESSEHAI                                         EXHIBITS OR TO SHOW
                                                         CAUSE WHY EXHIBITS
                                                      SHOULD NOT BE DESTROYED
                   Defendant.




       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for the defendant shall
either 1) withdraw the following exhibits previously submitted in this matter within 14
calendar days of the date of this order, or 2) show cause why the exhibits should not be
destroyed:


       (Exhibit number 101-109) / Detention Hearing / December 23, 2014)


       If counsel fails to withdraw these exhibits as directed or to show cause why the
exhibits should not be destroyed, the clerk=s office is directed to destroy the listed
exhibits without further notice to the parties or order from the court.



       IT IS SO ORDERED.

       Dated this 3rd day of March, 2017.


                                                  BY THE COURT:

                                                  s/ Lyle E. Strom
                                                  United States Senior Judge
